 1   KYLE A. KINNEY, (Bar No. 027189)
     LAW OFFICES OF KYLE A. KINNEY, PLLC
 2   1717 N. 77th St., Suite 6
     Scottsdale, AZ 85257
 3   Phone: (480) 269-7077
 4   Fax: (480) 614-9414
     Email: kyle@kinneylaw.net
 5
     Attorneys for Debtors
 6
                             UNITED STATES BANKRUPTCY COURT
 7
                                      DISTRICT OF ARIZONA
 8
     In re:                                        Chapter 13
 9
     Kenneth Lynn Fisher; and                      Case No. 2:17-bk-04950-MCW
10   Darla Jean Fisher,
                                                   DEBTORS’ APPLICATION TO
11                           Debtors.              APPROVE SETTLEMENT WITH
12                                                 TRUSTEE APPROVAL

13            Debtors Kenneth and Darla Fisher (“Debtors”), by and through counsel undersigned,
14   hereby file this Application to Approve Settlement With Trustee Approval (this
15   “Application”) pursuant to FRBP 9019 for a partial recovery of attorney fees pursuant to a
16   title insurance policy on their primary residence.
17            Creditor, Farmers Bank and Trust (“FBT”), holds a note and deed of trust secured by
18   Debtors’ primary residence. Prior to the Petition Date, FBT filed a state court lawsuit
19   seeking to clear title with respect to two (2) outdated deeds of trust that were paid-off but
20   not formally released, racking up significant attorney fees. FBT filed a claim at Claims
21   Registrar #6 reflecting these attorney fees (“POC”). On December 28, 2017 Debtors filed
22   an objection to FBT’s POC (Docket Entry No. 45) claiming that these attorney fees were
23   unreasonable. Debtors and FBT ultimately came to an agreement on FBT’s claim amount
24   and a Stipulated Order Confirming Plan was signed (Docket Entry No. 80).
25            In or around February 2019, Debtors contacted their title insurance carrier, North
26   American Title Company (“NATC”), and raised the issues regarding the rouge deeds of
27   trust that FBT raised in the state court action and provided various documents filed in this
28   case pertaining to the POC and Debtors’ Objection.           NATC informed Debtors that
                                                                         In re Fisher, 17-04950 Page 1 of 2
 1   although they did not believe these rogue deeds of trust to encumber the Debtors’
 2   residence, they would nonetheless agree to partially compensate Debtors for attorney fees
 3   relating to title that FBT applied to its POC in the amount of $2,800.00. Attached hereto as
 4   Exhibit “A” is a true and correct copy of the Settlement Agreement.
 5          Debtors informed their counsel of this proposed agreement and Debtors’ counsel
 6   obtained the trustee’s approval through his counsel, Rachel Flinn, to file this Application
 7   whereby the Debtors’ retain 50% of the proceeds and the estate receives 50% of the
 8   proceeds. Debtors shall turn over funds to the trustee within 14 days of depositing funds.
 9   The proposed agreements between Debtors and NATC and the Debtors and the trustee are
10   in the best interests of the estate because additional value in the amount of $1,400.00 is
11   added to the benefit of the unsecured creditors.
12      The Debtors certify: All required State and Federal income tax returns have been filed.
13   No domestic support obligation is owed or, if owed, such payments are current since the
14   filing of the Petition. Accordingly, Debtors respectfully request that this Application be
15   granted.
16
            RESPECTFULLY SUBMITTED this 6th day of May 2019.
17
18                                      LAW OFFICES OF KYLE A. KINNEY, PLLC
19                                      By: /s/ Kyle A. Kinney (SBN 027189)
20                                              Kyle A. Kinney
     I certify that the foregoing was
21   submitted on May 6, 2019 in the
     United States Bankruptcy Court for
22   filing and transmittal of notice
     of electronic filing to the
23   ECF registrants appearing in this case.

24   Russell Brown
     mail@ch13bk.com
25
     Rachel Elizabeth Flinn
26   rflinn@ch13bk.com

27
     By:    /s/ Paula D. Hillock
28
                                                                         In re Fisher, 17-04950 Page 2 of 2
EXHIBIT A
                   SETTLEMENT AGREEMENT AND RELEASE

In consideration for North American Title Insurance Company ("NATIC") providing the
sum of Two Thousand Eight Hundred Dollars and No Cents ($2,800.00) in the form of a
check made payable to "Kenneth L. Fisher and Daria J. Fisher" ("Payment") and
delivered to:

       Kenneth and Darla Fisher
       1107 E. South Shore Drive
       Gilbert, AZ 85234

on or before the close of business no later than twenty-one (21) days after the Fishers
receive an order from the bankruptcy court in their case, In Re: Kenneth Lynn Fisher and
Darla Jean Fisher, Case No. 2:17-BK-04950-MCW, approving such payment. Kenneth
L. Fisher and Daria 1. Fisher (hereafter referred to as "Releasors"), for themselves, their
heirs, insurers, successors and assigns, hereby release North American Title Company
("NATC") and NA TIC, including their present, past and future officers, directors, agents,
principals, employees, affiliates, subsidiaries, attorneys; successors and assigns, from any
and all actions, causes of action, losses, claims, demands, or liabilities known or
unknown, suspected or unsuspected, arising out of or in connection with the title
insurance claim identified as NATIC 2018-21800-100, the Payment, NATC Order No.
21800-10-00888, and the closing related to this order (hereafter referred to as "Claim,
Payment and File").

It is the intention of the Releasors in executing this Settlement and Release, and by
accepting receipt of the Payment, that this agreement shall be effective as a full and final
accord and satisfaction. The Releasors acknowledge that they may hereinafter discover
facts in addition to or different from those which they now know or believe to be true
with respect to the Claim, Payment and File, but it is the Releasors' intention to fully,
finally and forever settle and release any and all released matters, disputes, differences
known or unknown, suspected or unsuspected, which do now exist, may exist or
heretofore have existed between or among the parties with respect to any and all dealings
regarding the Claim, Payment and File.                                                         I


The Releasors acknowledge their understanding that neither NATIC or NATC admit any
liability whatsoever for any actions, causes of action, losses, claims, demands, or
liabilities known or unknown, suspected or unsuspected, arising out of or in connection
with the Claim, Payment and File.                     ..•

The Releasors hereby warrant and represent that they now own all of the claims hereby
released and that none of these claims have been previously sold or assigned to anyone
else.

NATIC hereby assures the Releasors that if/when       they sell the subject property, NATIC
will underwrite a policy for the buyerls and lender   which will not except coverage for the
First Equity Funding Mortgage's deed of trust          which recorded against the subject
property on June 2, 2005 in the official records of   Maricopa County, AZ, Instrument No.
2005-0740896.
The provisions of this Settlement and Release shall be binding upon and inure to the
benefit of the parties hereto, their respective heirs, executors, administrators, successors,
predecessors, assigns, insurers, officers, directors, shareholders, partners, trustors,
trustees, beneficiaries, attorneys, employees, agents, representatives,          subsidiaries,
affiliates, and divisions to the extent permitted by law.

The Releasors acknowledge that they are not relying upon any representation           made by
any of the parties to be released or by the representatives of the attorney of the   parties to
be released. The Releasors further acknowledge that they have carefully              read and
understood all provisions hereof, and have had the opportunity to seek the           advice of
independent legal counsel with respect to the Settlement and Release.

Each party hereto expressly agrees ~that it shall bear its own costs and attorney's fees, if
any, except as agreed to separate from this agreement, in writing, with respect to the
Claim, Payment and File which are the subject of this Settlement and Release.

IN WITNESS HEREOF the parties hereto have caused this document to be executed as
of the date appearing beside the signature of the respective parties.



                                       ~d~
                                       Kenneth L. Fisher, Releasor




Date:   3/!lL;'--I-~_
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